Case 2:19-cr-00170-SPC-NPM Document 99 Filed 12/29/20 Page 1 of 2 PageID 203




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                               CASE NO.: 2:19-cr-170-FtM-38NPM

BRENTON LAWRENCE FRANK


                 PRELIMINARY ORDER OF FORFEITURE1

       Before the Court, pursuant to 18 U.S.C. § 2253 and Rule 32.2(b)(2) of the

Federal Rules of Criminal Procedure, the United States’ moves for a

Preliminary Order of Forfeiture for the Samsung cell phone, Model ZTE

GSM Z982 Blade Z Max, serial number 3254757220399 which was used or

intended to be used to promote the commission of the violation charged in

Count One of the Indictment. (Doc. 98).

       Following a November 4, 2020 bench trial, Defendant, Brenton Lawrence

Frank, was found guilty of possession of a visual depiction of a minor engaging

in sexually explicit conduct, in violation of 18 U.S.C. § 2252(a)(4)(B), as charged

in Count One of the Indictment. (Doc. 1).

       The required connection between the crime of conviction and the asset

has been established, the United States is entitled to forfeit the property.


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Case 2:19-cr-00170-SPC-NPM Document 99 Filed 12/29/20 Page 2 of 2 PageID 204




Therefore, the Motion for Preliminary Order of Forfeiture (Doc. 98) is

GRANTED. And, pursuant to 18 U.S.C. § 2253 and Rule 32.2(b)(2) of the

Federal Rules of Criminal Procedure, the asset is FORFEITED to the United

States of America for disposition according to law, subject to the provisions of

21 U.S.C. § 853(n).

      This order shall become a final order of forfeiture as to Defendant,

Brenton Lawrence Frank, at sentencing.

      The Court retains jurisdiction to complete the forfeiture and disposition

of the asset sought by the government.

      DONE AND ORDERED in Fort Myers, Florida on December 29, 2020.




Copies: Counsel of Record




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